                                                                                         DISTRICT OF OREGON
                                                                                              FILED
                                                                                           September 19, 2017
                                                                                      Clerk, U.S. Bankruptcy Court
IT IS ORDERED AND NOTICE IS GIVEN THAT:
    (a) The trustee is authorized to compensate the debtor's attorney in the amount requested below
without further notice or order if copies are timely served per (b) unless, within 30 days of the FILED date, a
party files a written objection that sets forth specific grounds for it, with the Clerk of Court, 1001 SW 5th Ave
#700, Portland OR 97204. If the amount requested includes fees for work necessary to complete the case,
and payment of such fees will have any impact on creditor distributions, the trustee is authorized to
compensate the attorney in the amount requested for work necessary to complete the case 21 days after an
itemized bill for the additional work is filed and a copy is served on the debtor unless, within 14 days after
service, a written objection is filed.
    (b) The applicant must comply with all provisions in the court's Notice to Serve Document(s), and must
BOTH (1) properly serve a copy of this document, AND (2) FILE a completed Certificate of Service using a
copy of this document (WITHOUT any attachments).


                                                                        _______________________________________
                                                                                   DAVID W. HERCHER
                                                                                  U.S. Bankruptcy Judge




                                 UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF OREGON

In re                                                   )
                                                        )            16-31782-DWH13
                                                            Case No. _______________
Michel Reed Mathers                                     )
Rebekah Bonny Lee Mathers                               )   [ONLY FOR CHAPTER 13 CASES]
                                                        )   APPLICATION BY DEBTOR'S ATTORNEY
                                                        )   FOR SUPPLEMENTAL COMPENSATION;
Debtor(s)                                               )   AND ORDER AND NOTICE THEREON

I, the undersigned debtor's attorney, whose address and phone number are _____________________
1500 SW Bethany Blvd, Ste 288, Beaverton, OR 97006 503-352-3690
_________________________________________________________________________,                           apply for
additional compensation from the debtor's estate for the period from __________
                                                                            09/30/16 to __________
                                                                                             08/21/17 in the
sum of $____________
               929.90       (which is not less than $500 unless this is a final application, and which, if this
                                           0
is a final application, includes $____________     in anticipated additional fees to complete the case), per
the attached itemized billing summary.

I CERTIFY THAT:

    1. This (Check One)           IS      IS NOT my final application for compensation in this case.

    2. I have previously been awarded a total of $____________.
                                                     3,450.00   If granted, the total approved
                                    4,379.90
    compensation amount will be $____________.

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    3. My Disclosure of Compensation shows the debtor(s) and I agreed to:
       ___ Schedule 2 ___ Schedule 3.

    4. My previous application for compensation (i.e., either the original compensation disclosure or a
    supplemental application) was filed on __________,
                                                05/05/16 which is more than six months from the date of
    this application unless this is my final application.

    5. Allowance of this application will (mark all that apply):
       __ not affect the distribution to creditors.
       __ not change the length of the plan which is estimated at _______ months.
                                                                                             54.00
                                                              53.00 months to an estimated ______
       __ change the length of the plan from an estimated _____
           months.
                                                                 1.00 months.
       __ delay the distribution to creditors by approximately ______
       __ reduce the distribution to general unsecured creditors from an estimated _____% to an
           estimated _____ %.
       __ require that the debtor pay more, either by additional or increased plan payments sufficient
           to pay the additional fees.
                  This is an above median case that will pay 100% to all the creditors by the 54th
       __ other: _____________________________________________________________________
          month.
          _________________________________________________________________________.

    6. Applicant will file a modified plan within 28 days of allowance of the compensation requested in
    this application if the allowance will otherwise require plan modification.

    7. Applicant declares that, except as explained below, the minimum time billed is not in increments
    that exceed .1 hour (6 minutes), and that any time spent working on multiple matters concurrently
    has been allocated between those matters so that total billings do not exceed the actual time spent:




DATE: __________
        08/21/17                                             _____________________________________
                                                             /s/ Ryan Hackett
                                                             Debtor's Attorney



STOP: BEFORE SERVING COPIES, SUBMIT THE MOTION TO OBTAIN A JUDGE'S ORDER!


                                      CERTIFICATE OF SERVICE

I certify that on ____________ a copy of this application and order thereon (without attachments unless
the order requires service of an economic impact statement on the debtor), and any Notice of Hearing
prepared by the court per the judge’s order, were served on the debtor, and, if amounts requested and
anticipated exceed $1,000, on all creditors who filed claims and entities that filed a request to receive all
case notices.
                                                 _____________________________________________
                                                 Signature & Relation to Applicant
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                                                  Chapter 13 Post‐Confirmation Fee Itemization
                                         Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006

Client(s): Mathers         Case No.: 16‐31782 dwh
Hourly Rates:
Ryan Hackett (RPH), Attorney: $340/hr
Rosemary Zook (REZ), Attorney: $330/hr
Christy Dickson (CLD), Josh Orem (JRO) Attorney: $200/hr
Cheryl Riley/Terrien (CLR/CLT), Paralegal: $180/hr
Legal Assistant: $110/hr
All Other Staff: $75/hr
    Date                                                Description of Task                                           Staff Time   Rate     Cost
  9/30/2016 I prepaed and mailed a letter to the clients regarding their step payment next month and a reminder CLT          0.2    170 $     34.00
            to update their TFS account.
  9/30/2016 I prepared and mailed the client a letter regarding her case was confirmed, what to do with her tax CLT          0.2    170 $     34.00
            returns and refunds each year and to watch for increased income.

  10/7/2016 We received return mail from Central Credit Srv ‐ I saved a copy to the file.                             CLT      0    170 $          ‐
  10/7/2016 I reviewed the returned mail from Central Credit, prepared and filed an address change with the           CLT      0    170 $          ‐
            court.
 10/13/2016 We received returned mail from Legacy, I scanned a copy to the file and gave the original to Cheryl.      KDR      0     75 $          ‐

 10/18/2016 I reviewed the returned mail from Legacy Good Sam,I prepared and filed and address change with            CLT      0    170 $          ‐
            the court.
  12/1/2016 I processed Chase's amended proof of claim and updated the information on the Plan in the clients         CLT      0    170 $          ‐
            file.
  12/8/2016 I reviewed the Trustee's Notice of Intent to Pay Claims, I compared the confirmed Plan against the        CLT    0.1    170 $     17.00
            Trustee's website.
 12/22/2016 We received an email from the client with questions regarding the Trustee's Notice of Intent to Pay       CLT      0    170 $          ‐
            Claims.
 12/22/2016 I emailed the client explaining the Trustee's Notice of Intent to Pay Claims and why some claims are      CLT    0.1    170 $     17.00
            on hold.
  1/11/2017 I preapred and mailed a letter to the clients reminding htem to send a copy of their 2016 tax returns     CLT    0.2    180 $     36.00
            to our office and net tax refunds go to the Trustee.
  1/18/2017 I processed an amended proof of claim from the child support division,they amended to zero.               CLT      0    180 $          ‐

  1/23/2017 We received through the mail proof of claim documents from the Deptarmtne of Justice, division of         KDR      0     75 $          ‐
            child support, I scanned to the client file and gave the original to Cheryl.

  1/24/2017 I reviewed the mail from the child support division, it is a duplicate of the amended proof of claim      CLT      0    180 $          ‐
            received from the court.
  3/17/2017 Received an email from the clients, with recent paystubs, I reviewed for income changes per the           RPH    0.3    340 $    102.00
            clients' request, I sent a reply with questions on the overtime.
  4/24/2017 The client emailed questions regarding the Trustee's annual report and balances owing and                 CLT      0    180 $          ‐
            regarding tax returns.
  4/24/2017 I reviewed the clients file, pulled a copy of the Trustee's website, I emailed to the client with notes   CLT    0.2    180 $     36.00
            regarding the balances owing and regarding the tax returns.
  4/27/2017 The clients emailed a copy of their 2016 tax returns. I save a copy to their file.                        CLT      0    180 $          ‐
  4/27/2017 I redacted the 2016 tax returns and then I forwarded a copy to the Trustee's office.                      CLT    0.1    180 $     18.00
  4/27/2017 I emailed the clients that their 2016 rets have been forwarded to the Trustee and regarding their         CLT    0.1    180 $     18.00
            2016 tax refunds.
   5/9/2017 I received from the court Chase's Notice of payment change effective 06‐01‐17, I prepared and             CLT    0.2    180 $     36.00
            mailed a letter to the clients regarding the same.
  5/11/2017 We received through the mail the notice of mortgage payment change from ChaseI scanned it to the          KDR      0     75 $          ‐
            clients file and gave the original to Cheryl.
  5/12/2017 I reviewed the mail from Chase, it is a duplicate of the one recived from the court and the clients       CLT      0    180 $          ‐
            have already been forwarded a copy.
  5/22/2017 The clients emailed that his overtime has gone down and they want to reduce their plan payments.          CLT      0    180 $          ‐




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                                      Hackett Law Firm, LLC 1500 NW Bethany Bldv. #288 Beaverton, OR 97006
5/22/2017 Review the pay stub the client sent, compared to the last filed Income Schedule.                     CLT   0.1   180 $    18.00
5/22/2017 I emailed the clients regarding need current pay stubs, and updated property and expense schedules CLT     0.1   180 $    18.00
          along with a copy of the curreint outstanding medical bills.
5/22/2017 The wife emailed taht she also has a $1500 dental bill.                                            CLT      0    180 $      ‐
5/30/2017 The wife emailed that now the husband has been laid off, and can't make plan payment.                CLT    0    180 $      ‐

5/30/2017 I reviewed the Trustee's website and calculated the status of the clients plan payments.             CLT   0.1   180 $    18.00

5/30/2017 I emailed the clients regarding a modified plan, amended schedules and a timeline to get the         CLT   0.1   180 $    18.00
          payment lowered for June.
5/30/2017 I had emails with the clients regarding they may not need a modified Plan and changing thje TFS      CLT   0.1   180 $    18.00
          payments.
6/26/2017 The client called wanting their payment adjusted, said he will drop off paystubs tomorrow and talk   KDR    0    75 $       ‐
          with Cheryl.
6/27/2017 I ran feasibility to see how low the payment can go, notes to file.                                  CLT   0.2   180 $    36.00
6/27/2017 I had an office meeting with the client regarding a modified Plan.                                   CLT   0.5   180 $    90.00
6/27/2017 I emailed the client that I did not get the amendments done today, I will work on them in the        CLT    0    180 $      ‐
          morning.
6/28/2017 I began working up the amended income and expense schedules ,I emailed cleitns to get additional     CLT   0.5   180 $    90.00
          information and to outline their payment options.
6/28/2017 I emailed the clients that if they want the payment lowered in July we will need to get amendments   CLT   0.1   180 $    18.00
          completed this week.
6/29/2017 I called the husband and left a message regarding we need to get the amendments done this week if    CLT    0    180 $      ‐
          we want to lower the paymen in July.
6/29/2017 I had a phone call with the husband regardin the TFS payments and we discussed the amended           CLT   0.2   180 $    36.00
          income and expenses schedules and the modified plan.
6/29/2017 I emailed the clients the instructions for setting up TFS payments.                                  CLT   0.1   180 $    18.00
6/29/2017 The wife client emailed her current pay stubs‐ I saved them to their file.                           CLT    0    180 $      ‐
6/29/2017 I completed the income and expense schedules, and emailed them to the clients for their review and   CLT   0.3   180 $    54.00
          signatures.
6/30/2017 The wife cient emailed back her signed amened schedules and modified plan, I saved them to their     CLT    0    180 $      ‐
          file.
6/30/2017 I emailed the wife to find out if she knew when we can expect to get the husbands signed copies      CLT   0.1   180 $    18.00
          back.f
 7/3/2017 The wife emailed additional medical billes and a note she will have husbands signed documents        CLT    0    180 $      ‐
          tonight.
 7/5/2017 We received the signed modified plan and ameded schedules from the husband I saved to the clients    CLT    0    180 $      ‐
          file.
 7/5/2017 I preapred the Notice of Mod Plan.                                                                   CLT   0.1   180 $    18.00
 7/5/2017 I emailed the Trustee's office the Notice of Modified Plan, the Modified Plan and the amended        CLT   0.1   180 $    18.00
          schedules.
 7/5/2017 We received the Trustee's informal Objections to the modified Plan.                                  CLT    0    180 $      ‐
 7/5/2017 I made changes to the modified Plan.                                                                 CLT   0.1   180 $    18.00
 7/5/2017 I filed the modified Plan and amended schedules with the court and prepared the creditor copies.     CLT   0.1   180 $    18.00

 7/5/2017 POSTAGE: $6.90                                                                                       CLT         180 $     6.90
 7/5/2017 I emailed the clients a copy of the modified plan and a heads up it was filed today.                 CLT    0    180 $      ‐

 7/6/2017 I had emails with the clients regarding July's Plan payment.                                         CLT   0.1   180 $    18.00
8/21/2017 I reviewed the flle for additional attoreny fees                                                     CLT             $    35.00
                                                                                                                               $   929.90




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